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Roger A. Lewis (pending PHV, IL Bar No. 6229704)
David J. Chizewer (pending PHV, IL Bar No. 6206747)
GOLDBERG KOHN LTD.

55 East Monroe Street — Suite 3300

Chicago, Illinois 60603

(312) 201-4000

roger. lewis@goldbergkohn.com
david.chizewer@goldbergkohn.com

Ross H. Hyslop (CSB #149358)
PESTOTNIK LLP

501 West Broadway — Suite 1025
San Diego, California 92101
(619) 237-3000
hyslop@pestotnik.com

Counsel for Plaintiff-Relator

_IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

THE UNITED STATES OF AMERICA, the
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ex rel, FEFFREY BIERMAN,

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